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Dated: August 03, 2023
The following is ORDERED:



                                                    ________________________________________
                                                                 M. Ruthie Hagan
                                                       UNITED STATES BANKRUPTCY JUDGE

____________________________________________________________


                           UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF TENNESSEE
                                   WESTERN DIVISION

In re
                                                                        Case No. 23-23313-MRH
Holiday Ham Holdings, LLC,                                                           Chapter 11
                                                                                   Subchapter V
Debtor-in-Possession

         CONSENT ORDER TO SUPPLEMENT AND CLARIFY LIENS ATTACH
        TO PROCEEDS OF SALE AND DISTRIBUTION OF PROCEEDS FROM SALE


       Upon motion being filed on July 14, 2023, by Holiday Ham Holdings, LLC (Debtor-in-
Possession and/or DIP) (hereafter “Motion” and ECF No. 12), the Court held a hearing on July
28, 2023, upon expedited hearing and shortened time for notice and objection deadline to
Motion. The parties entered on July 31, 2023, “Order on Expedited Motion to Approve Sale of
Assets of Debtor in Ordinary Course of Business pursuant to 11 U.S.C. Section 363 and
Assumption and Assignment of Executory Contracts Pursuant to 11 U.S.C. Section
365” (hereafter “Sale Order” ECF No. 57) and the parties supplement and clarify liens to attach
to proceeds of sale and distribution of proceeds from sale as follows:
        1. The Debtor-in-Possession filed the Chapter 11 petition for relief on July 7, 2023, with
           petition granted on same date to stop shut down of business. Craig M. Geno was
           appointed the Chapter 11 Subchapter V Trustee in this case.

        2. This Order is only to supplement prior Sale Order and clarify that as announced to the
           Court at hearing on July 28, 2023 that all asserted liens attach to proceeds and further
           the Debtor and Pinnacle Bank announced and agreed as to the distribution of proceeds
           from sale.


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       3. The Debtor-in-Possession has been provided information by Pinnacle, FirstBank and
          records of the Secretary of State as to liens filed on assets of DIP and is of the opinion
          the first lien is held by Pinnacle Bank on most assets of the estate but upon
          information and belief that FirstBank has a filed UCC-1 on the assets of the Pimentos
          Crown Centre on Poplar. DIP has agreed to allow Pinnacle and FirstBank to resolve
          any priority issues between said Banks on Pimentos Store Crown Centre. DIP upon
          research does not find any UCC-1 filed of record on the trademarks with any federal
          agency as required, therefore such trademarks are believed by DIP to be
          unencumbered.

      4. At hearing on Motion it was announced by counsel for DIP and confirmed by counsel
         for Pinnacle that DIP was asserting that assets being sold were assets to which
         Pinnacle had first lien except for the aforementioned trademarks. Pinnacle and DIP
         specifically agreed that all assets were to be sold free and clear of all liens and
         encumbrances as stated in Sale Order. Specifically, to clarify and supplement such
         Order as necessary that all asserted liens are attaching to the proceeds from the sale
         (hereafter “Cash Collateral”). Further Pinnacle and DIP agree and supplements such
         Order that at closing DIP shall have use of the Cash Collateral of Pinnacle from
         proceeds of sale pursuant to Order up to $75,000.00 and the balance of proceeds of
         sale under Order shall be paid to Pinnacle to reduce their claim.

       5. This Order has been negotiated by the parties in good faith and notice is considered
          adequate under the circumstances to all secured parties, twenty largest unsecured
          creditors and all creditors and parties requesting notice in these matters to continue
          the operation of the business of DIP under this Cash Collateral distribution subject to
          further hearings on Motion of Pinnacle.

        IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED the liens attach to the
proceeds of the sale of assets under the Order and use of cash collateral by Debtor of $75,000.00
as stated above is granted.


                                                     Approved:
                                                     /s/ Toni Campbell Parker
                                                     Toni Campbell Parker (TN #6984)
                                                     Attorney for Debtor-in-Possession
                                                     45 North Third Ave., Ste. 201
                                                     Memphis, TN 38103
                                                     901-483-1020

                                                     /s/Matthew R. Murphy
                                                     Matthew R. Murphy (TN #24627)


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                                                     Smythe Huff & Murphy, PC
                                                     1222 16th Ave. South, Suite 301
                                                     Nashville, TN 37212
                                                     Attorneys for Pinnacle Bank

       CC:
       Debtor
       Attorney for US Trustee
       E. Franklin Childress, Atty. For Lift
       Subchapter V Trustee
       Secured Creditors of Debtor
       Twenty Largest Unsecured Creditors
      All Creditors and Parties requesting Notice.




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